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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Criminal 2 {-cr-28-APM
Magistrate No. 21-mj-cr-260, 2 |-mj-284
V.

  

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US, Destrict Court, etrict

   

ROBERTO MINUTA, and:

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,
SANDRA PARKER,
BENNIE PARKER,
GRAYSDON YOUNG,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS,
KENNETH HARRELSON,
Defendants

MARK MARVIN, Petitioner

PETITION FOR A WRIT OF HABEAS CORPUS

This is a Someone petition for a Writ of Habeas Corpus to determine the legality of the
criminal charges against the defendants who where charged with crimes in connection with a
mostly peaceful assembly in Washington D.C. on January 6. 2021 intended “to peacefully
assemble, and to petition the Government for redress of grievances.” (U.S. Const. Amend. I)

Petitioner MARK MARVIN, has standing as “someone” (28 U.S.C.A. 2242 , Darr v.
Birford, 339 U.S. 200, 203, 70 S.Ct. 587, 590) And further, Petitioner has standing in that this
prosecution is intended, through “equal protection” to a piori deny him access to Washington,
D.C. , and he further says:

1, He has previously filed a petition on behalf of Roberto Minuta. This petition follows,
and concerns the arrest/detention of the other co-defendants charged in this indictment, and same
Complaint (Roberto Minuta), and relies on “open source” evidence” which is prohibited, and
inherently unreliable, if not prejudicial. (see Paragraph 17)

2, The alleged “conspirators are listed in the indictment at paragraphs 14 to 25, and
whose addresses cover the U.S. from Ohio to Florida, from Virginia to Texas.

3, The alleged conspirators supposedly agreed to “interfere” with the certification of the

Electoral College. (para. 29, p. 6-7) It should be noted that Congressman Maxine Waters had
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repeatedly urged persons to “obstruct” the efforts of the government and to “get in their faces”
(adjective for “obstruct” suggesting a personal violent confrontation, face to face. (see: open
source news reports) Representative Waters then has implicated herself as a co-conspirator, as
well as many of the Democrats who agreed and compelled persons to “resist, resist, resist”.
Chris Cuomo on CNN (state actor) news asked: “Where does it say that protests have to be
peaceful?” encouraging violence from left-wing protesters.

4, The section on “Overt Acts” (para. 30) lists assorted forms of communication (often
referred to as “free speech... or assembly,” under the First Amendment to the United States
Constitution which were violated by the defendants. Actually the First Amendment is supposed
to secure free speech, not identify it as a crime.

5, Further allegations of First Amendment conversations follow from Paragraph 30 to
59.

6, Further allegations from paragraph 60 to 71 describe travel accommodations.

7, Further allegations from paragraph 72 to 94 describe verbal conversations.

8, Further allegations from paragraph 95 complain of clothing similarities and some sort
of a Conga Line (really) (para. 95) “each individual keeping at least one hand on the shoulder of
the other in front of them.” Imagine that: The government thinks a Conga Line is evidence of a
criminal conspiracy to overthrow the government.

9, Those peaceful persons including Roberto Minuta, attempted to visit the Capitol
during visiting hours. “The Capitol Visitor Center, the main entrance to the U.S. Capitol at First
Street and East Capitol Street .... is open to visitors from 8:30 a.m. to 4:30 p.m. Monday through
Saturday except for Thanksgiving Day, Christmas Day, New Year’s Day and on Inauguration
Day.... Admission is free. However passes are required for tours of the historic Capitol and may
be needed for other special events.” (https.//w.w.w. visit the capitol.gov./plan-visit/visitor-hours-
inf ?) The complaint alleges that there were “Capitol Police Barricades.” (Indictment
paragraph 7) Actually the “barricades” were light weight “safety fence” . (See: Weather
Channel, “Weather Goes Viral” Episode 65 , about 15 minutes into show a flimsy identical fence
is used on the beach, and is called “safety fence” not functional as a “barricade”) There are no
reports of police use of tear gas, rubber bullets, water cannon, reinforcements, nothing serious in
the way of crowd control.

10, At paragraph 98, the indictment charges that .... And the others (all the defendants )
(doing a Conga Line) “each individual keeping at least one hand on the shoulder of the other in

front of them” (para. 95) “forcibly entered the Capitol building” (during visitation hours. That
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Criminal 21-cr-28-APM
Magistrate No. 21-mj-cr-260, 21-mj-284
V.
ROBERTO MINUTA,

et al.

MEMORANDUM OF LAW
THIS INDICTMENT AND THE UNDERLYING PROSECUTION VIOLATE DUE PROCESS
AND CANNOT BE USED TO DENY FIRST AMENDMENT RIGHTS.

Preliminary hearing and the grand jury both determine whether there is probable cause
with regard to the suspect. (Coleman v. Alabama, 1957, 339 U.S. 1) “Its historic office has been
to provide a shield against arbitrary or oppressive action, by ensuring that serious criminal
accusations will be brought only upon the considered judgment of a representative body of
citizens acting under oath and under judicial instruction and guidance.” (U.S. v. Mandujano,
1976, 425 U.S. 564, 571) Judicial supervision is properly exercised in such (First Amendment)
cases to prevent the wrong before it occurs.” (United States v. Calandra, 1974, 414 U.S. 338,
346)

Grand juries must operate within the limits of the First Amendment and may not harass
the exercise of speech and press rights. (Branzburg v. Hayes, 1972, 408 U.S. 665, 707-08)
“(G)rand jury investigations if instituted or conducted other than in good faith, would pose
wholly different issues for resolution under the First Amendment.” (U.S. v. Alvarez, 2012, 132
S.Ct. 2537, 567 U.S 709, [10,11])

“The Department of Justice does not consider the press ‘an investigative arm of the
government’.” (Branzburg. Id. p. 707, fn. 41)

This indictment is defective and deprives this Court of subject matter jurisdiction over

the case. (United States v. Cotton, 2002, 535 U.S. 625)

Mark Marvin

135 Mills Road
Walden, N.Y. 12586
May 29, 2021

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May 29, 2021

Date L\

 

Signature ke eS
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U.S. District Court,

United States Courthouse,
333 Constitution Ave. NW,
Washington, D.C. 20001

Re: U.S. v. Minuta, et al. Criminal 21-cr-28-APM
Magistrate No. 21-mj-cr-260, 21-mj-284
To the Court:

Enclosed please find my habeas petition on behalf of Roberto Minuta’s co-defendants in
the above captioned matter.

Thanking you for your kind attention, I am
very truly yours,

ple “2 pa

Mark Marvin

Enc.

   

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